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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS

 

 

MARSHALL DIVISION
SimpleAir, Inc., Civil Action No. 2:13-cv-00587-JRG
Plaintiff, Jury Demanded
vs.
Google Inc.
Defendants.
VERDICT FORM

Your answer to the following question must be unanimous. In answering the
question, you are to follow all of the instructions you have been given in the Court’s
Charge. After answering this question, your Foreperson should sign and date the form as

indicated below.

QUESTION 1

What sum of money if paid now in cash do you find from a preponderance of the
evidence would fairly and reasonably compensate SimpleAir for Google’s infringement
of United States Patent No. 7,035,914? Your answer should be stated in United States

dollars and cents.

s_ SS, 000, 000, 00

Signed this }4_ day of March, 2014.

 

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